               Case 1:20-cv-01812-AWI-BAM Document 4 Filed 12/29/20 Page 1 of 1
                                      UNITED STATES DISTRICT COURT

                  EASTERN                          District of                   CALIFORNIA


       JOHNNY PHOUTHACHACK,                               ORDER ON APPLICATION
               Plaintiff                                  TO PROCEED WITHOUT
                                                          PREPAYMENT OF FEES

                      V.

                                                          CASE
 OCWEN FINANCIAL CORPORATION, et. al,                     NUMBER:         1:20-cv-01812-BAM
             Defendant



      Having considered the application to proceed without prepayment of fees under 28 USC §1915 and

      the complaint having been filed in this action;

      IT IS ORDERED that the application is:

  GRANTED.



         IT IS FURTHER ORDERED that the clerk issue summons and the United States marshal serve a
                 copy of the complaint, summons and this order upon the defendant(s) as directed by the plaintiff.
                 All costs of service shall be advanced by the United States.

  ☐DENIED, for the following reasons:




ENTER this       29          day of              December             ,     2020     .




                                                                      /s/ Barbara A. McAuliffe
                                                                     Signature of Judicial Officer

                                                        BARBARA A. McAULIFFE, U.S. MAGISTRATE JUDGE
                                                                    Name and Title of Judicial Officer
